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                              IN THE UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION
                                    CASE NO.: 1:18-cv-23576-KMW

   AM GRAND COURT LAKES LLC &
   AM 280 SIERRA DRIVE LLC,

             Plaintiffs,
   v.

   ROCKHILL INSURANCE COMPANY,

         Defendant.
   ______________________________________/


   PLAINTIFFS’ REPLY TO DEFENDANT’S RESPONSE TO MOTION FOR DIRECTED
               VERDICT AND INCORPORATED MOTION TO STRIKE

             Plaintiffs, AM GRAND COURT LAKES LLC & AM 280 SIERRA DRIVE LLC,

   (“Plaintiffs”), by and through undersigned counsel, and pursuant to Rule 50 of the Federal Rules

   of Civil Procedure and Local Rule 7.1 of the United States District Court for the Southern District

   of Florida, hereby files their Reply to the Defendant’s Response to Motion for Directed Verdict

   and Incorporated Motion to Strike, [D.E. 214] filed by Defendant, ROCKHILL INSURANCE

   COMPANY (“Defendant”) and in support states as follows:

        I.   PLAINTIFFS’ REPLY TO DEFENDANT’S ASSERTION OF BACKGROUND

                 1. During trial in the above referenced matter, both the Plaintiffs and the Defendant

                      made ore tenus motions for entry of Judgment as a Matter of Law on all claims.

                 2. The Court reserved ruling on all Motions for Judgment as a Matter of Law, and

                      advised that the parties, both Plaintiffs and Defendant, had until December 9, 2019,

                      to file supplementation, if any, to pending motions for judgment as a matter of law.

                      [D.E. 198].



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              3. Plaintiffs, pursuant to Court Order [D.E. 198] filed their Motion for Directed

                  Verdict and Entry of Final Judgment and Response to the Defendant’s Motion for

                  Directed Verdict on December 9, 2019. [D.E. 208].

    II.   PLAINTIFF’S REPLY TO DEFENDANT’S MEMORANDUM OF LAW

       A. Plaintiffs’ Motion was Filed in Accordance with the Rules of Civil Procedure

              4. During trial, Plaintiffs made an ore tenus motion for a directed verdict pursuant to

                  Rule 50(a)(2) of the Federal Rules of Civil Procedures, which provides that,

          “[a] motion for judgment as a matter of law may be made at any time before the
          case is submitted to the jury. The motion must specify the judgment sought and the
          law and facts that entitle the movant to the judgment.”

              5. Plaintiffs contended at trial and again its Motion for Directed Verdict and Entry of

                  Final Judgement and Response to Defendant’s Motion for Directed Verdict that

                  Defendant had failed to provide any evidence showing that the damage sustained

                  to the subject property was in any way excluded under the policy of insurance, and

                  provided no evidence in contradiction to Plaintiffs’ experts showing that the

                  property was a total loss which renders payment of the insurance policy’s limits.

                  [D.E. 208].

              6. Plaintiffs have properly complied with moving for a directed verdict pursuant to

                  Federal Rule of Civil Procedure 50(a)(2) by moving for the directed verdict prior

                  to the case being submitted to the jury and have properly supplemented the motion

                  in accordance with the Court’s Order [D.E. 198] by filing the Motion for Directed

                  Verdict and Entry of Final Judgement and Response to Defendant’s Motion for

                  Directed Verdict by December 9, 2019.




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             7. Likewise, Plaintiffs are in compliance with 50(b)(3) of the Federal Rules of Civil

                 Procedures, which provides that,

         “If the court does not grant a motion for judgment as a matter of law made under
         Rule 50(a), the court is considered to have submitted the action to the jury subject
         to the court’s later deciding the legal questions raised by the motion. No later than
         28 days after the entry of judgment-or if the motion addresses a jury issue not
         decided by a verdict, no later than 28 days after the jury was discharged-the movant
         may file a renewed motion for judgment as a matter of law and may include an
         alternative or joint request for a new trial under Rule 59.”

             8. To this day, there has not been a final judgment entered consistent with the jury

                 verdict and the jury was discharged on November 22, 2019, therefore, Plaintiffs’

                 Motion for Directed Verdict and Entry of Final Judgement and Response to

                 Defendant’s Motion for Directed Verdict, filed on December 9, 2019 is timely.

                 [D.E. 208].

             9. The entirety of Defendant’s Motion to Strike [D.E. 214] rests on the false assertion

                 that Plaintiffs did not move for judgment as a matter of law prior to the case being

                 submitted to a jury, therefore, the entirety of Defendant’s argument has been

                 premised on error.

      B. Plaintiffs Motion is Sufficient as a Matter of Law

             10. Judgment as a matter of law may be entered where “there is no legally sufficient

                 evidentiary basis for a reasonable jury to find’ for the non-moving party.” Chaney

                 v. City of Orland, Fla., 483 F.3d 1221, 1227 (11th Cir. 2007).

             11. The Defendant failed to provide any evidence during trial or before trial, to

                 contradict Plaintiffs’ experts that the subject property had sustained physical

                 damage during the policy period resulting in a total loss.




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               12. The amount that Plaintiffs are seeking in their Motion for Directed Verdict, is the

                   insurance policy limits, the amount of which is not in dispute. [D.E. 29-1].

               13. Defendant makes broad statements in its Response to Motion for Directed Verdict

                   and Incorporated Motion to Strike, that witnesses Julie Corbett, Colby Chavers,

                   Timothy Philmon, and Mason Mitchell all provided credible testimonial evidence,

                   without giving specifics of each person’s testimony or how it contradicts Plaintiffs’

                   experts testimony regarding a total loss to property. [D.E. 214].

               14. None of the Defendant’s witnesses were able to refute the diagnostic findings of

                   Plaintiffs’ experts, Sergio Arce and Al Brizuela.

               15. The Defendant was unable to substantiate as to how any damages being claimed

                   by the Plaintiffs were precluded by any policy exclusion.

               16. Mr. Alain Gonzalez, Plaintiffs’ expert, gave substantial testimony regarding the

                   cost to rebuild the subject property based on the totality of the damages as testified

                   to by Mr. Brizuela, to which was never refuted by any of the Defendant’s experts.

                                              CONCLUSION

          WHEREFORE, as shown in accordance with above cited case law, the corresponding facts

   of this claim it is respectfully requested that this Court grants the Plaintiffs’ Motion for Directed

   Verdict and Entry of Final Judgment [D.E. 208] and deny Defendant’s Motion to Strike [D.E.

   214] and provide such further relief deemed just and appropriate under the circumstances.




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                                      CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically

   delivered via the CM/ECF filing portal on December 30, 2019, on all counsel or parties of record

   on the Service List below.

                                                      /s/ Sonya P. Randolph
                                                      JOSE P. FONT, ESQ.
                                                      Florida Bar No.: 0738719
                                                      SONYA P. RANDOLPH, ESQ.
                                                      Florida Bar No.: 1007710
                                                      FONT & NELSON, PLLC
                                                      Counsel for the Plaintiff
                                                      200 S. Andrews Ave., Suite 501
                                                      Ft. Lauderdale, Florida 33301
                                                      Telephone: (954) 248-2920
                                                      Facsimile: (954) 248-2134
                                                      srandolph@fontnelson.com
                                                      pleadings@fontnelson.com




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                                  SERVICE LIST

   Lauren D. Levy, Esq.
   lauren@levylawgroup.com
   Levy Law Group
   3399 Ponce De Leon Boulevard
   Suite 202
   Coral Gables, FL 33134
   Telephone: (305) 444-1500
   Facsimile: (305) 503-9295
   Attorney for Defendant

   Paula Levy, Esq.
   paula@levylawgroup.com
   Levy Law Group
   3399 Ponce De Leon Boulevard
   Suite 202
   Coral Gables, FL 33134
   Telephone: (305) 444-1500
   Facsimile: (305) 503-9295
   Attorney for Defendant




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